                         Exhibit "A"
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Envelope: USPS_6x9_FULL WINDOW
Total Pages: 7
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                                                                                                          Ditech Financial LLC
                                                                                                               P.O. Box 15009
                                                                                                        Tempe, AZ 85284-0109
                                                                                                        Phone: 1-800-643-0202
                                                                                                               www.ditech.com
October 3, 2019


THE INDEPENDENCE LAW FIRM
WILLIAM J SANCHEZ
1800 PEMBROOK DRIVE
SUITE 300
ORLANDO, FL 32810


Re:        Ditech Financial LLC, ("Ditech")
           Customer Name: DANIEL SHIPLEY
           Account Number: 0034537522
           Property Address: 6931 OAKWOOD CT
                              BROOKINGS, OR 97415-0000
THIS INFORMATIONAL NOTICE IS NOT AN ATTEMPT TO COLLECT A DEBT. IF YOUR CLIENT
IS CURRENTLY IN BANKRUPTCY OR THEY DISCHARGED THIS DEBT IN A BANKRUPTCY, THE
SERVICER IS NOT ATTEMPTING TO COLLECT OR RECOVER THE DEBT AS THEIR PERSONAL
LIABILITY.

Dear THE INDEPENDENCE LAW FIRM WILLIAM J SANCHEZ:

The current payoff on your client's above-referenced account is $349,261.61. * Please be advised that Ditech Financial
LLC ("Ditech") has approved the proposed short payoff subject to the following conditions:
         1.        Approval is contingent upon Ditech receiving proof of escrow/settlement being opened.
         2.        Sale of property is to be on or before 10/25/2019.
         3.        Gross contract sales price is $347,000.00.
         4.        Ditech will accept and consider payment in the amount of $313,407.00 on the account as a settlement in full.
         5.        Maximum net sales proceeds to the 2nd lien of $1,500.00.
         6.        Maximum commissions to agent of $20,820.00.




*
 BECAUSE OF INTEREST, LATE CHARGES, AND OTHER CHARGES THAT MAY VARY FROM DAY TO DAY, THE AMOUNT DUE ON THE
DAY YOUR CLIENT PAYS MAY BE GREATER. HENCE, IF YOUR CLIENT PAYS THE AMOUNT SHOWN ABOVE, AN ADJUSTMENT MAY BE
NECESSARY AFTER WE RECEIVE THEIR CHECK, IN WHICH EVENT WE WILL INFORM YOUR CLIENT BEFORE DEPOSITING THE CHECK
FOR COLLECTION. FOR FURTHER INFORMATION, CONTACT CUSTOMER SERVICE AT THE ABOVE-REFERENCED ADDRESS OR TOLL FREE
NUMBER.


0034537522                                                        ABK
Pre-FC Loss Mit Bank Account 1st Lien                                                                                     6/19/2017
                                                                                                                          LTR-1015
                                                      2019100319.1.0.2555-J20150825Y
                             Case 6:18-bk-03688-KSJ         Doc 30-1 Imb  Tracking Number: 0004000074527945780232810000075
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         7.        Maximum closing costs $11,273.00 which excludes: third party short sale negotiation fees, third party short
                   sale processing fees, escrow paid, pest inspections, home warranties, and water, sewer or utility fees.
         8.        Send separate wires for each account if there are multiple accounts to Ditech.
         9.        Parties other than Ditech must absorb (pay) any additional unapproved closing costs.
         10.       Customer (Seller) shall receive a maximum of $0.00 cash upon successful closing for relocation assistance.
Any funds in your client's escrow account will be applied to their remaining account balance. Upon receipt and verification
of good funds, Ditech will release the deed of trust/mortgage and the Note will be settled in full.
This offer is expressly conditioned upon DITECH'S receipt of the funds by 10/25/2019.
If this offer is based upon a cash settlement, please assure good funds are received by Ditech by 10/25/2019. Your client
may use the wiring instructions referenced below to send their settlement funds.
If this offer is conditioned upon the sale or refinance of the collateral securing the above-referenced account, Ditech
must receive all available funds from the sale or the closing of the new account, not to exceed the full payoff amount of
the existing account. Your client has represented to Ditech that there are no additional funds available from the sale or
refinance of the property and that your client shall receive no funds, either directly or indirectly, from the sale or the closing
of the new account. If any additional funds become available, your client must instruct the title company to disburse the
funds to Ditech.
In addition, the following documents must be emailed or faxed at the time of closing to gt.final.hud@ditech.com or
1-855-854-5146:
         •         Wire confirmation from institution showing the funds wired to Ditech
         •         Signed Servicer Approval Letter
         •         Closing Disclosure Forms/HUD-1 signed by all parties involved in the sale**
         •         Pre-Foreclosure Sale Addendum signed by all parties involved in the sale
         •         Copy of fully executed power of attorney
         •         Second Lien Approval Letter (if applicable)
On the date of closing, please direct the title company to remit the above-referenced amount by wire transfer using the
following instructions:
               Wiring Instructions:
               ABA:                         021000089
               Account:                     31115214
               Account Name:                Ditech Financial LLC
               Bank Name:                   Citibank, N.A.
Account #: 0034537522
Please include the above-referenced account number with the payment.
Your client's creditor may be required to report to the Internal Revenue Service any debt forgiveness of $600 or more
in principal, subject to certain exceptions that may or may not apply to your client. If required, such reporting may result
in consequences regarding your client's federal, state or local tax liability. In addition, if your client receives public
assistance, the forgiveness of debt may affect their eligibility for these benefits. Ditech cannot provide any advice or
guidance regarding possible tax consequences or effect on any public assistance benefits. Your client may wish to consult
with their tax professional about any possible tax consequences and/or their public assistance office regarding other
consequences that may result from the forgiveness of debt.




0034537522                                                        ABK
Pre-FC Loss Mit Bank Account 1st Lien                                                                                      6/19/2017
                                                                                                                           LTR-1015
                                                      2019100319.1.0.2555-J20150825Y
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If your client receives public assistance, the forgiveness of debt may affect your client's eligibility for these benefits. Ditech
cannot provide any advice or guidance regarding possible tax consequences or effect on any public assistance benefits.
Your client may wish to consult with their tax professional about any possible tax consequences and/or your client's public
assistance office regarding other consequences that may result from the forgiveness of debt. If your client chooses not to
proceed with the forgiveness of debt, please contact Ditech immediately at 1-877-816-9125.
Please note that the purchaser of the subject above-referenced property will be prohibited from conveying it for any sales
price for a period of 30 days from the date of purchase. After that 30-day period expires, the purchaser will be further
prohibited from conveying the property for a sales price greater than $416,400.00 until 90 days after the date of purchase.
These restrictions run with the land and are not personal to the purchaser.
If your client has any questions, please call me at 1-877-816-9125. Thank you for your assistance.
Ditech has designated the following address where mortgage loan customers must send any Qualified Written
Request, Notice of Error or Request for Information: P.O. Box 12710, Tempe, AZ 85284-0046.
Sincerely,
MARCIEX S
Ditech
1-877-816-9125
Monday - Friday 7 a.m. to 8 p.m., Saturday 7 a.m. to 1 p.m. CST
Enclosures: Short Sale Affidavit




**
     Ditech policy prohibits it from providing any instructions to settlement agents or the customer regarding the completion of the HUD-1.


0034537522                                                                 ABK
Pre-FC Loss Mit Bank Account 1st Lien                                                                                                         6/19/2017
                                                                                                                                              LTR-1015
                                                               2019100319.1.0.2555-J20150825Y
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                                              SHORT SALE AFFIDAVIT

Servicer: ________________________________________________________

Servicer Loan Number: ____________________________________________

Address of Property:
____________________________________________________________________________

____________________________________________________________________________

Date of Purchase Contract: ____/____/____

Investor: ________________________________________________________

Seller: __________________________________________________________

Buyer: __________________________________________________________

Seller: __________________________________________________________

Buyer: __________________________________________________________

Seller's Agent/Listing Agent: _______________________________________

Buyer's Agent: ____________________________________________________

Escrow Closing Agent: _____________________________________________

Transaction Facilitator (if applicable): ________________________________

This Short Sale Affidavit ("Affidavit") is given by the Seller(s), Buyer(s), Agent(s), and Facilitator to the Servicer and the
Investor of the mortgage loan secured by the Property ("Mortgage") in consideration for the mutual and respective benefits
to be derived from the short sale of the Property.

NOW, THEREFORE, the Seller(s), Buyer(s), Agent(s), and Facilitator do hereby represent, warrant and agree under the
pains and penalties of perjury, to the best of each signatory's knowledge and belief, as follows:

(a) The sale of the Property is an "arm's length" transaction, between Seller(s) and Buyer(s) who are unrelated and
    unaffiliated by family, marriage, or commercial enterprise;
(b) There are no agreements, understandings or contracts between the Seller(s) and Buyer(s) that the Seller(s) will
    remain in the Property as tenants or later obtain title or ownership of the Property, except that the Seller(s) are
    permitted to remain as tenants in the Property for a short term, as is common and customary in the market but no
    longer than ninety (90) days, in order to facilitate relocation;




0034537522                                                   ABK
Short Sale Affidavit (Form 191)                                                                                      8/8/2014
                                                 2019100319.1.0.2555-J20150825Y
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                                                             Filed  10/10/19 Page 14 of 14
IN WITNESS WHEREOF, I have subscribed my name this ____ day of __________________, 20____.

(Seller's Agent/Listing Agent's Signature) By: _____________________________________________

IN WITNESS WHEREOF, I have subscribed my name this ____ day of __________________, 20____.

(Escrow Closing Agent's Signature) By: _____________________________________________

IN WITNESS WHEREOF, I have subscribed my name this ____ day of __________________, 20____.

(Buyer's Agent's Signature) By: _____________________________________________

IN WITNESS WHEREOF, I have subscribed my name this ____ day of __________________, 20____.

(Transaction Facilitator’s Signature (if applicable)) By: ____________________________________




0034537522                                               ABK
Short Sale Affidavit (Form 191)                                                                       8/8/2014
                                             2019100319.1.0.2555-J20150825Y
